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 4
     Attorney for:
 5   ULISES PENA
 6
                              IN THE UNITED STATES DISTRICT COURT
 7
                            FOR THE EASTERN DISTRICT of CALIFORNIA
 8

 9
                                                      )   Case No.: 1:18-cr-00065-DAD-BAM
     UNITED STATES OF AMERICA,                        )
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                                                      )
                      Plaintiff,                      )   DEFENDANT’S REQUEST FOR
11
                                                      )   WAIVER OF APPEARANCE AND
            vs.                                       )   ORDER
12
                                                      )
     ULISES PENA,                                     )
13
                                                      )
                      Defendant                       )
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15
     Pursuant to Federal Rule of Criminal Procedure 43(b)(2), Defendant Ulises Pena, having been
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     advised of his right to be personally present at all stages of the proceedings, hereby requests that
17
     this Court permit him to waive his right to personally appear for any and all proceedings in this
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     matter. Mr. Pena agrees that his interests shall be represented at all times by the presence of his
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     attorney Emily de León, the same as if Mr. Pena were personally present. This court has the
20
     discretion under Rule 43(b)(2) to permit the defendant’s absence.
21

22
     Date: 09/19/19                                                ___/s/ Ulises Pena________
23
                                                                   Victor Luna
24
     Date: 09/19/19                                                __/s/ Emily de Leon________
25
                                                                   EMILY DE LEON
                                                                   Attorney for Defendant



                               DEFENDANTS REQUEST AND WAIVER OF APPEARANCE    - 1
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 1
                                                  ORDER
 2
            Good cause appearing,
 3
            IT IS HEREBY ORDERED the Court grants Defendant Ulises Pena’s request for
 4
     waiver of his personal appearance for all proceedings in this matter.
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 6   IT IS SO ORDERED.
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        Dated:     September 19, 2019                         /s/ Barbara A. McAuliffe   _
 8                                                     UNITED STATES MAGISTRATE JUDGE
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                            DEFENDANTS REQUEST AND WAIVER OF APPEARANCE      - 2
